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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Brian Erskine,                                     No. CV-20-08123-PCT-JJT
10                   Plaintiff,                         ORDER
11   v.
12   Forrest Fenn,
13                   Defendant.
14
15          Defendant, the Estate of Forrest Burke Fenn, through personal representative Zoe
16   Fenn Old, filed a Motion for Award of Attorneys’ Fees (Doc. 49) to which Plaintiff filed a
17   Response in opposition (Doc. 51); Defendant then filed a Reply (Doc. 53). No party
18   requested oral argument on the matter and the Court concludes such a hearing would not
19   assist in resolution of the Motion. See LRCiv 7.2(f). The operative facts of this matter are
20   well chronicled in the Court’s earlier Order granting Defendant’s Motion to Dismiss
21   (Doc. 46) and it therefore will not repeat them here.
22          A.R.S. § 12-341.01(A) provides in relevant part that “[i]n any contested action
23   arising out of a contract, express or implied, the court may award the successful party
24   reasonable attorneys’ fees.” This matter arose out of contract. Plaintiff alleged that
25   Defendant’s conduct created a “unilateral” contract, and the cornerstone of his claim was
26   an alleged breach of that contract. And there is no doubt Defendant was the successful
27   party. The Court granted Defendant’s Motion for dismissal of the matter in full for lack of
28   jurisdiction. (Doc. 46.) For a defendant there can be no greater success than full dismissal.
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 1   To the extent Plaintiff argues that because the Court dismissed on jurisdictional grounds
 2   rather than on the merits of the contract question, Defendant was not the “successful party,”
 3   the Court rejects that argument soundly. Defendant won. The case is over. He—now his
 4   estate—is the “successful party” in “a contested action arising out of contract” for purposes
 5   of Section 12-341.01. See, e.g., Balestrieri v. Balestrieri, 232 Ariz. 25, 28 (App. 2013);
 6   Britt v. Steffen, 220 Ariz. 265, 267 (App.2008). Defendant is thus eligible for reasonable
 7   attorneys’ fees under the statute.
 8          Having determined Defendant’s eligibility for a fee award, the Court applies the
 9   following factors to determine whether Defendant also is entitled to such fee: 1) the merits
10   of the claim presented by the unsuccessful party; 2) whether the litigation could have been
11   avoided or settled and thus the successful party’s efforts were completely superfluous in
12   achieving the result; 3) whether assessing fees against the unsuccessful party would cause
13   an extreme hardship; 4) whether the successful party did not prevail with respect to all of
14   the relief sought; 5) the novelty of the legal question presented; 6) whether such claim
15   previously had been adjudicated in the jurisdiction; and 7) whether the award would
16   discourage other parties with tenable claims from litigating or defending legitimate contract
17   issues for fear of incurring liability for substantial amounts of attorneys’ fees. Associated
18   Indem. Corp. v. Warner, 143 Ariz. 567, 570 (Ariz. 1985).
19          These factors favor the award sought. As the Court determined in its dismissal
20   Order, Plaintiff failed to demonstrate the Court had personal jurisdiction over Defendant,
21   finding that general jurisdiction was “plainly absent” and specific jurisdiction has “clearly
22   not been met.” (Doc. 15 at 6, 8.) Plaintiff’s threshold claim of personal jurisdiction thus
23   had no merit. It also is clear from the parties’ filings that the litigation could not have been
24   avoided, and thus defense counsel’s efforts were necessary to resolve this matter, as
25   Plaintiff rebuffed Defendant’s documented efforts to otherwise resolve the matter and
26   Plaintiff subsequently took extreme positions once he instituted the action. And Plaintiff
27   has not addressed in his Response, and therefore has failed to meet his burden to show,
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 1   whether an award of fees would cause an extreme hardship for him. See Woensdregt v.
 2   Handyman Connection, 2019 WL 4316556 (Ariz. App. Ct. Sept. 12, 2019).
 3          Defendant prevailed with respect to all relief sought—he achieved dismissal of the
 4   action. The legal question presented to the Court was not novel and is regularly adjudicated
 5   in the state and District of Arizona. Finally, the Court finds easily that an award of fees
 6   here would not discourage other parties with tenable claims from litigating legitimate
 7   contract issues for fear of incurring attorney fee liability, the operative words here being
 8   tenable and legitimate. Thus, the Court concludes Defendant is entitled to an award of
 9   attorneys’ fees in this matter.
10          Finally, the Court concludes what amount of fees is reasonable as an award.
11   Defendant has complied with LRCiv 54.2 by providing briefing and supporting
12   documentation to allow the Court to evaluate the reasonableness of the fee award. In
13   determining what award is reasonable, the Court must consider factors including: 1) the
14   time and labor required of counsel; 2) the novelty and difficulty of questions presented; 3)
15   the skill requisite to perform the legal service properly; 4) preclusion of other employment
16   by counsel because of accepting this action; 5) the customary fee charged in matters of the
17   type involved; 6) whether the fee is fixed or contingent; 7) any time limitations imposed
18   by the client or circumstances; 8) the amount of money involved and results obtained; 9)
19   the experience, reputation and ability of counsel; 10) the “undesirability” of the case; 11)
20   the nature and length of the professional relationship between counsel and client; 12)
21   awards in similar actions; and 13) other matters deemed appropriate under the
22   circumstances. LRCiv 54.2(c)(3).
23          The Court finds the amount of time and labor required by counsel to complete the
24   tasks before it ultimately was reasonable. Ordinarily, the Court would question how
25   attorneys’ fees of nearly $100,000 would be justified in defending a matter that was
26   dismissed on a Rule 12(b) motion before discovery commenced on the sole issue of
27   personal jurisdiction—which, as set forth supra and considered again here as a
28   reasonableness factor, is not novel and has been decided by courts of this state and District


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 1   many times. But a review of the docket, the filings contained in it and the itemized billing
 2   statement reveals that due to the volume, aggressiveness and at times inscrutability of
 3   Plaintiff’s filings, significant additional time was required of defense counsel. Next, the
 4   factor discussing preclusion of other work as a result of accepting this matter is largely
 5   neutral here, as the matter did not consume an inordinate amount of time for any counsel
 6   involved, though at times would have precluded acceptance of new work of an urgent
 7   nature. Similarly, the time limitations imposed by the matter were routine in that in every
 8   litigation, counsel must adhere to court deadlines for pleading and motion practice.
 9          With respect to customary fees charged for a matter of this type, the Court finds that
10   the hourly rates charged by the three attorneys representing Defendant in this matter are
11   reasonable in light of: 1) the market in which counsel practice, respectively; 2) the area and
12   level of practice in which they engage; 3) the skill requisite to perform the legal services
13   required here properly and 4) the experience, reputation and ability of counsel—these last
14   two characteristics being factors the Court must independently consider here under Rule
15   54.2. Moreover, Plaintiff does not challenge the hourly rates established by the respective
16   fee agreements. The fee agreements provided for, and the billing statements reflect, billing
17   at an hourly rate rather than a fixed fee or on a contingency basis, which shifts the risk to
18   the client and therefore does not in and of itself justify a higher fee to compensate for risk
19   assumed by counsel. The results obtained in the matter for Defendant—full dismissal
20   before having to engage in discovery, dispositive motion practice and trial—militate
21   toward the fee being reasonable. There was nothing “undesirable” about this matter
22   justifying a higher fee, and the length of relationship between any counsel and their client
23   is neutral in this evaluation. An award of the amount requested here is consistent with other
24   awards in similar matters involving the level of litigiousness observed.
25          Upon evaluation of these factors, the Court concludes the requested award of
26   $98,891.12 in attorneys’ fees is reasonable and will award same to Defendant. The Court
27   also will award Defendant $1,100.12 in costs, which comply with the rules’ requirements.
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 1         IT IS ORDERED granting Defendant’s Motion for Award of Attorneys’ Fees
 2   (Doc. 49.) Defendant is awarded $98,891.12 in fees and $1,100.12 in costs.
 3         Dated this 1st day of December, 2021.
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 5                                        Honorable John J. Tuchi
                                          United States District Judge
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